                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
  IN RE LOUIS A. TELERICO                           CASE NO. 17-50236
                    Debtor                          CHAPTER 11
                                                    JUDGE ALAN M. KOSCHIK

        PLAN OF REORGANIZATION VERSION 1.3 FOR LOUIS A. TELERICO
                                    ARTICLE I. SUMMARY

         This Plan of Reorganization Version 1.3 (the “Plan”) under Chapter 11 of the Bankruptcy
 Code (the “Code”) is proposed by Louis A. Telerico as Debtor and Debtor-in-Possession
 (“Debtor”). The Debtor proposes to pay parties holding Allowed Claims (“Creditors”) from
 multiple sources, including without limitation, future income and cash flow from employment
 and retirement income, a contribution from his wife, and sales or leases of assets. This Plan
 provides for two (2) classes of Secured Claims and two (2) classes of Unsecured Claims.
 General Unsecured Creditors holding Allowed Unsecured Claims in Class 4 are projected to
 receive distributions which the Debtor estimates to be ten to twelve percent (10% to 12%) of
 their Allowed Claims.

         All Creditors should refer to ARTICLE II. through ARTICLE VI. below of this Plan
 for information regarding the precise treatment of their Claims and how the Plan will operate. A
 Disclosure Statement that provides more detailed information regarding this Plan and the rights
 of Creditors has been circulated with this Plan. Certain capitalized terms used herein are defined
 in this Plan, the Disclosure Statement or 11 U.S.C. §101 et seq (the ”Bankruptcy Code” or
 “Code”). Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have one. (If you do not have an attorney, you may wish to
 consult one.)

    ARTICLE II. UNCLASSIFIED CLAIMS: TREATMENT OF ADMINISTRATIVE
          EXPENSE CLAIMS, U.S. TRUSTEES FEES, AND TAX CLAIMS

        2.1     Unclassified Claims. Under section §1123(a)(1), Claims Allowed by the
        Bankruptcy Court pursuant to §503(b) of the Code (“Administrative Expense Claims”),
        and Allowed Claims entitled to priority pursuant to §507(a)(8) (“Priority Tax Claims”)
        are not in classes under this Plan and ineligible to vote on the Plan.
        2.2     Administrative Expense Claims. Each holder of an Administrative Expense
        Claim, including fees for professionals retained in the Cases by the Debtor as ultimately
        Allowed by the Bankruptcy Court (“Professional Fee Claims”), will be paid in full on the
        Effective Date”) or on the first business day after the fifteenth day after the date the order
        an order approving such fees or expenses is entered on the docket in the Bankruptcy
        Case, whichever is later, in cash. The Debtor estimates the amount of Administrative
        Expense Claims to be $30,000.00.
        2.3     Priority Tax Claims. Each holder of a Priority Tax Claim will be amortized and
        paid in full on or before the expiration of year five of the Petition Date and bear interest

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       at the rate specified in applicable non-bankruptcy tax law until paid in full, and will be
       paid in accordance with Section 1129(a)(9)(C). The Debtor believes there are no Priority
       Tax Claims against the estate. In the ordinary course of his financial affairs the Debtor
       will pay income, use and real estate taxes as they come due, but these are not Priority Tax
       Claims. Payments on any Allowed Priority Tax Claim may be made from the Debtor’s
       disposable income, tax refunds (if any) or other borrowings if necessary. Which option
       the Debtor will use to pay Priority Tax Claims will depend in part on the Allowed amount
       of such Priority Tax Claim which is presently unknown.
       2.4    United States Trustee Fees. All fees required to be paid by 28 U.S.C.
       §1930(a)(6) (“U.S. Trustee Fees”) will accrue and be timely paid until the case is closed,
       dismissed, or converted to another chapter of the Code. Any U.S. Trustee Fees due and
       owing on or before the Effective Date of this Plan will be paid on the Effective Date.
  ARTICLE III. TREATMENT OF CLAIMS AND INTERESTS CLASSIFIED UNDER
                             THE PLAN

       3.1     Classified Claims shall be treated as follows under this Plan:


         Class             Impairment                               Treatment
   Class 1 – Secured   Impaired; Entitled    The Debtor has a Trust (defined below) that
   Claims of Portage   to Vote on the        owns 3 parcels of real estate: 545 Bristol Dr.,
   County Treasurer    Plan.                 Aurora Ohio used by the Debtor as his residence
   (“Portage                                 (“Home”), and three adjacent parcels of land one
   Treasurer”)                               at 132 Bristol Drive, Aurora Ohio (‘Bristol
                                             Parcel”) and two at 130R Glengarry Aurora Ohio
                                             (the “Glengarry Parcels” and with the Bristol
                                             Parcel the “Parcels” and both collectively with
                                             the Home, the “Real Estate”). The Portage
                                             County Treasurer has a real estate tax lien
                                             against the Home in the amount of $424,793.37
                                             that is a first priority lien against the Home. This
                                             amount will be paid bearing no interest in 10
                                             semiannual installments of $42,479.34 paid
                                             when the current real estate tax installment is on
                                             the Home. In addition the Debtor will also pay
                                             the current real estate taxes on the Home when
                                             due.
                                             Portage County Treasurer has a real estate tax
                                             lien against the Glengarry Parcels in the amount
                                             of $10,911.33 and $13,065.02 that is a first
                                             priority lien against them, and a real estate tax
                                             lien against the Bristol Parcel in the amount of
                                             $4,051.89 that is a first priority lien against it.
                                             These latter amounts will be paid in full upon
                                             sale of the Parcels



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         Class             Impairment                         Treatment
   Class 2 – Secured Impaired; Entitled    On or about July 25, 2001 the Debtor executed a
   Claim of Bank of to Vote on the         promissory note payable to BOA in the principal
   America (“BOA”) Plan.                   amount of $3,000,000.00 (“BOA Note”). To
                                           secure repayment of the Note on or about the
                                           same date the Trust as mortgagor gave to BOA a
                                           mortgage interest in the House that is a second
                                           priority lien against it (“BOA Mortgage”). BOA
                                           filed proof of claim no. 11 asserting that
                                           $3,732,925.43 was owed on the BOA Note. The
                                           BOA Note will be converted to a new note
                                           having a 25 year term and bearing interest at the
                                           rate of 4% per annum. The Debtor will pay
                                           interest only in monthly installments for the first
                                           60 months after the Effective Date on the new
                                           note, and amortizing amounts of principal and
                                           interest commencing in the 61st month after the
                                           Effective Date.
   Class 3–Secured    Impaired; Entitled   On or about December 4, 2009 the Debtor
   Claim of Stifel,   to Vote on the       executed a promissory note payable to Stifel in
   Nicolas &          Plan.                the principal amount of up to $400,000.00
   Company, Inc.                           (“Stifel Note”). To secure repayment of the Note
   (“Stifel”)                              on or about the same date the Debtor’s Trust as
                                           mortgagor gave to Stifel a deed of trust granting
                                           it a mortgage interest in the Real Estate that is a
                                           second priority lien against the Parcels although
                                           a third priority mortgage against the House
                                           (“Stifel Mortgage”). Stifel filed proof of claim
                                           no. 20 in the Debtor’s bankruptcy case asserting
                                           that $430,414.61 was owed on the Stifel Note.
                                           The Stifel Note and Mortgage are undersecured
                                           against the Home and pursuant to 11 U.S.C. §
                                           506 there is no value securing the Stifel
                                           Mortgage against the Home. The Debtor has
                                           alleged that the Stifel Note and Mortgage were in
                                           fact transactions to disguise an advance of
                                           commissions to the Debtor that he would earn as
                                           a broker for Stifel. In 2013 the Debtor
                                           commenced an arbitration proceeding against
                                           Stifel and others with the Financial Industry
                                           regulatory Authority (FINRA) alleging fraud and
                                           breach of contract among other things, and
                                           asserting that his claims exceeded the amount
                                           due on the Stifel Note. The Stifel Note and
                                           Mortgage are therefore not valid claims against


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        Class              Impairment                             Treatment
                                              the estate or the Real Estate. However to the
                                              extent there is a valid claim against the Estate it
                                              will be paid from the proceeds of the Parcels and
                                              as a general unsecured claim with Class 4.
   Class 4 –           Impaired; Entitled Class 4 Creditors consist of the remaining
   Unsecured           to Vote on the Plan balance due for Claims that were originally
   Claims.                                 secured by the Debtor’s Home other than Classes
                                           1, 2 or 3, and all other unsecured Claims.. The
                                           Debtor believes that there are 19 Creditors in
                                           Class 4: The gross amount of the Claims in Class
                                           4 is $5,290,180.88, but the Debtor believes some
                                           of those amounts to be overstated or payable
                                           from other sources. Class 4 Claims will receive
                                           a pro-rata distribution with Class 3 if the lien of
                                           Class 3 is avoided in whole or in part.
      3.2      Periodic Distributions Defined.
      (a)      “Periodic Distributions” means the Distributions to classified Creditors called for
               under the Plan, made after the Distributions due on the Effective Date to parties in
               interest. An Initial Periodic Distribution will commence on or after the 365th day
               after the Effective Date by presuming all Claims are Allowed at their face value
               and making a pro-rated Distribution based on that amount. Periodic Distributions
               will continue until the Creditor Trust (defined in Section 6.3 below) has no more
               funds to distribute.
      3.3      Votes Necessary for a Class to Accept the Plan.
      (a)      A Class of Claims accepts the Plan if both of the following occur: (i) the holders of
               more than one-half (1/2) of the Allowed Claims in the Class, who vote, cast their
               votes to accept the Plan, and (ii) the holders of at least two-thirds (2/3) in dollar
               amount of the Allowed Claims in the Class, who vote, cast their votes to accept
               the Plan.

      (b)      If no holder of a Claim in a Class of Claims o eligible to vote in a particular
               Class timely submits a ballot to accept or reject the Plan and does not
               otherwise object to the Plan, then the applicable Class will be deemed to have
               voted to accept the Plan.
            ARTICLE IV. ALLOWANCE AND DISALLOWANCE OF CLAIMS

      4.1      Disputed Claim. A “Disputed Claim” is a Classified or Unclassified Claim that
      has not been allowed or disallowed (by a final non-appealable order), or as to which
      either: (i) a proof of claim or an application has been filed or deemed filed, and to which
      a party in interest has filed an objection; or (ii) no proof of claim has been filed, and the
      Debtor has scheduled such Claim as disputed, contingent, or unliquidated. Debtor,
      Creditor Trustee (defined below) or other party in interest shall submit objections to all
      Claims within ninety (90) days of the Effective Date. Notwithstanding the foregoing, all


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      applications for payment of administrative expenses will be deemed to be Disputed
      Claims until such time as the application is approved by the Bankruptcy Court regardless
      of whether or not an objection to such application has been filed by a party in interest.
      4.2     Delay of Distribution on a Disputed Claim. No pro-rata payment on any
      Classified or Unclassified Claim due pursuant to ARTICLE II. or ARTICLE III. above
      of this Plan (“Distribution”) will be made on account of a Disputed Claim until the
      Bankruptcy Court enters an order upholding the validity of such Claim, and such order is
      a final non-appealable order (in such case, the Claim becomes “Allowed” and is an
      “Allowed Claim”). To the extent a Distribution on a Disputed Claim is delayed, the
      Debtor or the Creditor Trustee shall segregate an amount equal to such holder’s pro rata
      share of any such Distribution and hold such amount pending final allowance or
      disallowance of such Claim. If a Disputed Claim becomes an Allowed Claim, and if the
      Debtor or the Creditor Trustee is holding funds for Distribution to such holder, Debtor or
      the Creditor Trustee shall make such Distribution within twenty (20) days of a
      determination that the Disputed Claim has been Allowed. If such Disputed Claim is
      disallowed, then the Debtor or the Creditor Trustee shall include such held funds until the
      next scheduled Distribution and include such funds in the amounts to be distributed to
      other Claim holders at such time.
      4.3    Settlement of Disputed Claims. The Debtor or the Creditor Trustee will have
      the power and authority to settle and compromise a Disputed Claim without court
      approval or compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure.
   ARTICLE V. PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED
                               LEASES

      5.1     Upon the Effective Date the Debtor will be conclusively deemed to have rejected
      all executory contracts and/or unexpired leases not expressly assumed or before the
      Effective Date. A proof of a claim arising from the rejection of an executory contract or
      unexpired lease under this section must be filed no later than thirty (30) days after the
      Effective Date.
            ARTICLE VI. MEANS FOR IMPLEMENTATION OF THE PLAN

      6.1      Plan Term The Plan shall be funded as described below for 60 months after the
               Effective Date (“Plan Term”). Payment on the BOA Mortgage and Note after the
               Plan Term shall be made outside the Plan.
      6.2      Plan Funding.
      (a)      Sale of the Home Debtor is the Trustee of the Louis A. Telerico 2010 Amended
               and Restated Revocable Trust Indenture dated February 1, 2010 (“Trust”). The
               Trust is the record owner of the Home. On the Effective Date the Debtor will
               cause the Trust to transfer title to the Home to the Debtor and his wife Sharon
               Telerico free and clear of all liens claims and encumbrances EXCEPT for and
               subject to the real estate taxes owed the Portage County Treasurer and the BOA
               Mortgage. In addition to the assumption of the amounts due those two creditors
               by the Debtor, Sharon Telerico will make the contribution to plan funding set
               forth below.


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      (b)      Funds on Hand. Funds on hand will be used to make payments due under the
               Plan.
      (c)      Base Future Income of the Debtor The Debtor projects that his future income
               from all sources, social security, pension income, tax refunds and earned
               commissions and bonuses to be $300,000 annually. Up to 110% of this amount
               shall be the Debtor’s “Base Future Income” and used to make payments to Class 1
               and 2, the Debtor’s living expenses and maintenance of the Home. Any amount
               in excess of those amounts shall be paid to the Creditor Trust (defined below) as
               the “Net Income.”
      (d)      Excess Future Income of the Debtor If the Debtor earns income in excess of
               110% of his Base Future Income (i.e. $330,000 gross) during the Plan Term, that
               amount shall be shared with the Creditor Trust with 2/3rds going to the Creditor
               Trust and 1/3rd being kept by the Debtor. The Creditor Trust’s share shall be the
               “Debtor’s Excess Income.”
      (e)      Spousal Contribution of Sharon Telerico Sharon Telerico shall contribute
               $150,000 annually for each year of the Plan Term as funds are available to pay the
               couple’s living expenses, Class 1 and 2 Claims, with any excess over and above
               the amounts paid to expenses and those two classes becoming part of and paid to
               the Creditor Trust as the “Net Income.”
      6.3     Creation of the Creditor Trust. On the Effective Date the Debtor will create a
      trust for the benefit of Claims in Classes 3 and 4 and the Trust Assets will be placed into
      that trust (“Creditor Trust”). The Creditor Trust will be managed by the Creditor Trustee.
      6.4    Trust Assets Defined. The assets to be transferred to the Creditor Trust (the
      “Trust Assets”) shall include all assets of the Debtor as of the Petition Date, other than
      the Home and all Exempt Assets (defined in the Disclosure Statement), and specifically
      including all Debtor Claims (defined in the Disclosure Statement), Avoidance Actions,
      the Debtor’s Excess Income and the Net Income.
      6.5     Administration of Creditor Trust by Creditor Trustee. On the Effective Date
      the Harold A. Corzin shall become the trustee of the Creditor Trust (the “Creditor
      Trustee”) Mr. Corzin has been selected to be the Creditor Trustee as he is a Chapter 7
      panel trustee sand familiar with the administration of bankruptcy estates. The Creditor
      Trustee shall have the following powers and/or duties:
      (a)      To administer the Creditor Trust and to have dominion and control over all Trust
               Assets for the benefit of all Creditors who are beneficiaries of the Creditor Trust;
      (b)      To sell, lease, assign or transfer any Trust Assets including the Parcels free and
               clear of any claims with suck liens or claims to the Trust Assets being transferred
               to the proceeds of sale pending later order of the Court;
      (c)      To determine whether to invest Trust Assets to maximize the return to the
               Creditor Trust;
      (d)      To determine whether it is in the best interest of Creditors to continue to attempt
               to maximize value for the remaining Trust Assets or whether such Trust Assets



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               should be abandoned and whether any future Distributions will be made under the
               Plan;
      (e)      To determine the value of the Trust Assets, and the prices to be sought for the
               Trust Assets and to determine the amount of time and plan for the marketing of
               the Trust Assets and to adjust those values as may be necessary;
      (f)      To execute, deliver, file, or record such contracts, instruments, releases, any other
               agreements or documents and take such actions as may be necessary or
               appropriate to effectuate and implement the provisions of this Plan;
      (g)      To receive such reports from the Debtor regarding his Net Income, Excess
               Income and the as the Creditor Trustee may reasonably determine are necessary
               for his administration of the Trust Assets;
      (h)      To receive on behalf of the Creditor Trust the amount of the Debtor’s Net Income
               and Excess Income from the Debtor or his Spouse;
      (i)      To determine whether Sufficient Funds exist to make a Distribution under the
               Plan;
      (j)      To make all distributions to Allowed Claims in Classes 3 and 4 required under
               this Plan;
      (k)      To file post confirmation reports with the Court;
      (l)      To pay all taxes and fees owed by the Creditor Trust;
      (m)      To object to any Claim and prosecute Claims objections pursuant to the
               provisions of this Plan and to be substituted as the real party in interest in any
               objection to a claim or any litigation commenced before the Effective Date by the
               Debtor;
      (n)      To retain employees, agents and professional advisors he deems appropriate to
               administer the Creditor Trust or the Trust Assets.
      (o)      To request the Bankruptcy Court to modify the Plan after the Effective Date;
      6.6     Compensation and Indemnification. The Creditor Trustee shall be entitled to
      be compensated from the Trust Assets for his time at the rate specified in 11 U.S.C. §326
      on the amounts disbursed to Creditors from the Creditor Trust. The Creditor Trustee
      shall also be reimbursed for all reasonable out-of-pocket expenses incurred in the
      performance of his duties hereunder. The Creditor Trustee shall be indemnified by and
      receive reimbursement from the Trust Assets against and from any and all loss, liability,
      expense, or damage which he may incur or sustain, in good faith and without gross
      negligence, recklessness or willful misconduct, in the exercise and performance of his
      powers and duties under this Plan. The Creditor Trustee may use the Trust Assets to
      purchase appropriate errors and omissions insurance.
      6.7      Term. The Creditor Trustee shall continue until all Claims Class 3 and 4 are paid
      in full, or the Trust Assets are exhausted and all proceeds are paid out to the appropriate
      parties or the Plan Term ends. Once such event occurs the Creditor Trust shall be
      deemed dissolved and the Creditor Trustee shall be deemed to have resigned. Title to any
      Trust Assets that are unadministered upon expiration of the Creditor Trust shall


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      automatically vest in the Debtor.
      6.8     Retention and Payment of Professionals without Court Order. After the
      Effective Date, the Creditor Trustee, attorneys, accountants and other persons employed
      or retained by the Creditor Trustee shall be paid in the ordinary course of business by the
      Creditor Trustee from the Trust Assets, without the need for Court approval.
      6.9    Confidentiality. Consistent with their duty to the Estate the Creditor Trustee will
      preserve the confidentiality of financial information received from the Debtor.
      6.10 Process for Distributions Under the Plan. An Initial Periodic Distribution will
      commence on or after the 365th day after the Effective Date by presuming all Claims are
      Allowed at their face value and making a pro-rated Distribution based on that amount.
      Annually thereafter Periodic Distributions will be made by the Creditor Trustee during
      the Plan Term. A final Distribution will be made once all Claims are Allowed or
      Disallowed by the Bankruptcy Court.
                        ARTICLE VII. GENERAL PROVISIONS

      7.1     Definitions and Rules of Construction. The definitions and rules of
      construction set forth in §§101 and 102 of the Code shall apply when terms defined or
      construed in the Code are used in this Plan. In addition, all other defined terms used
      herein have been defined contextually within the text of this Plan. Terms defined in this
      Plan, the Disclosure Statement or in Section 101 or 102 are capitalized herein
      7.2     Confirmation Order and Effective Date of Plan. The “Effective Date” of this
      Plan is the fifteenth business day following the date of the entry of the order confirming
      this Plan (“Confirmation Order” and the date of entry of the Confirmation Order is the
      “Confirmation Date”). But if a stay of the Confirmation Order is in effect on that date,
      the Effective Date will be the first business day after that date on which no stay of the
      Confirmation Order is in effect, provided that the Confirmation Order has not been
      vacated. In the event Bankruptcy Court approval of a payment to a party due to be paid
      on the Effective Date is necessary and such approval has not happened before the
      Effective Date (such as an award of Professional Fees or ruling on Allowance of a Claim)
      the term Effective Date with respect to such payment shall mean the date such order
      becomes a Final Order.
      7.3     Severability. If any provision in this Plan is determined to be unenforceable, the
      determination will in no way limit or affect the enforceability and operative effect of any
      other provision of this Plan.
      7.4     Binding Effect. The rights and obligations of any entity named or referred to in
      this Plan will be binding upon, and will inure to the benefit of the successors or assigns of
      such entity.
      7.5    Captions. The headings contained in this Plan are for convenience of reference
      only and do not affect the meaning or interpretation of this Plan.
      7.6     Controlling Effect. Unless a rule of law or procedure is supplied by federal law
      (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State
      of Ohio govern this Plan and any agreements, documents, and instruments executed in
      connection with this Plan, except as otherwise provided in this Plan.


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      7.7     Notices. Any notice required or permitted to be provided under this Plan is
      required to be in writing and served by one of the following: (a) certified mail, return
      receipt requested, postage prepaid; (b) hand delivery; (c) reputable overnight courier
      service, freight prepaid; or (d) fax; addressed as follows:
         If to the Debtor:       Louis Telerico
                                 PO Box 928
                                 Aurora OH 44202


                Copy to:     Frederic P. Schwieg, Esq. (0030418)
                             Attorney At Law
                             2705 Gibson Dr.
                             Rocky River, Ohio 44116-3008
                             Fax (440) 398-0490
                             fschwieg@schwieglaw.com

      7.8     Delivery of Notices. If personally delivered, such communication is deemed
      delivered upon actual receipt; if faxed in accordance with this Plan, such communication
      is deemed delivered noon of the first Business Day following transmission; if sent by
      overnight courier in accordance with this Plan, such communication is deemed delivered
      noon of the first Business Day following deposit with such courier; and if sent by U.S.
      mail in accordance with this Plan, such communication is deemed delivered as of the date
      of delivery indicated on the receipt issued by the relevant postal service; or, if the
      addressee fails or refuses to accept delivery, as of the date of such failure or refusal. Any
      party to this Plan may change its address for the purposes of this Plan by giving notice of
      such change.
      7.9    Inconsistency. If any inconsistency between this Plan and the affiliated disclosure
      statement (the “Disclosure Statement”) exists, the provisions of this Plan govern.
      7.10 Modification of the Plan. Debtor expressly reserves the right to alter, amend, or
      modify this Plan before its substantial consummation to the full extent permitted pursuant
      to Section 1127 of the Bankruptcy Code , Rule 3019 of the Federal Rules of Bankruptcy
      Procedure, any other applicable law or the Plan.
      7.11 Subordination. The Distributions under this Plan take into account the relative
      priority of each Claim in connection with any contractual subordination provisions
      relating to such Claim. Accordingly, distributions under this Plan are not and may not be
      subject to levy, garnishment, attachment, or other legal process by any holder of a Claim
      purporting to be entitled to the benefits of such contractual subordination, and all such
      holders are deemed to have waived any and all contractual subordination rights they
      otherwise may have had.
      7.12 De Minimis Distributions. No distributions of less than $10 will be made to any
      Creditor on account of any Claim. If a Creditor holding an Allowed Claim does not
      receive a distribution owing to the provisions of this section on the Effective Date or any
      subsequent date, then the Allowed Claim remains eligible for distributions on the first
      date set for distributions when such distribution exceeds $10.



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       7.13 Final Payment Under the Plan. At such time as all obligations under the Plan
       are completed, and Distributions have occurred and any remaining funds exist and all
       proposed Distributions are less than the DeMinimis Distribution limit, then the Creditor
       Trustee shall be authorized to make payment of any and all funds remaining for payments
       to the Creditor Trustee’s choosing, so long as such charity is located in and/or benefits
       the inhabitants of Northeastern Ohio.
       7.14 Jurisdiction. Notwithstanding the entry of the Confirmation Order, a Final Order
       or the occurrence of the Effective Date, the Bankruptcy Court will retain such jurisdiction
       over the Case after the Effective Date as follows:
       (a)     to hear and decide (1) objections to Claims; and to disallow, determine, liquidate,
               classify, estimate, or establish the priority or secured or unsecured status or the
               amount of any Claim, including the resolution of any request for payment of any
               Administrative Expense Claim and the resolution of any and all objections to the
               allowance or priority of Claims;
       (b)     Grant or deny any applications for allowance of compensation or reimbursement
               of expenses authorized under the Code incurred prior to the Confirmation of this
               Plan;
       (c)     To hear avoidance actions under §§ 522, 544, 545, 548 and 549;
       (d)     To determine turnover actions under §§ 542 and 543;
       (e)     To issue revocation of an Confirmation Order under § 1144;
       (f)     To order dismissal under § 1112;
       (g)     To enforce any provision of the Plan and to enforce collection of the Spousal
               contribution due from Sharon Telerico, Ms. Telerico expressly consenting to the
               jurisdiction of the Bankruptcy Court to enter a final order with respect to such
               contribution as evidenced by her signing this Plan;
       (h)     To permit modification of the Plan under § 1127(b);
       (i)     to enforce the permanent injunction under § 524(a);
       (j)     To grant the Debtor a discharge in accordance with § 1141(d)(5)
       (k)     To issue final decrees and enter orders closing the Case; and
       (l)     any other matter subject to this Court's jurisdiction pursuant to applicable law.
                    ARTICLE VIII. DISCHARGE AND INJUNCTION

       8.1     Discharge. Upon issuance of the Confirmation Order and the final payment
       under the Plan, the Debtor may move the Court to grant him a discharge from any debt
       that arose before confirmation of the Plan, to the extent specified in §1141(d) of the
       Code.
                       ARTICLE IX. CONFIRMATION REQUEST

       9.1    If one or more impaired classes of Claims and Interests fails to accept the Plan
       under Section 1126 of the Code, and all of the applicable requirements of Section 1129(a)


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        of the Code, other than Section 1129(a)(8), have been satisfied, the Debtor requests that
        the Court confirm the Plan pursuant to the provisions of Section 1129(b) of the Code.
 /s/ Frederic P. Schwieg                       /s/ Louis A. Telerico
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